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 2
     901 F Street, Suite 200
 3   Sacramento, CA 95814

 4   Attorney for Aricela Villa
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 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,               ) Case No.: 2:07cr00515-07 WBS
                                             )
12
                Plaintiff,                   ) STIPULATION AND ORDER
                                             )
13                                           ) DATE: August 29, 2011
           v.
                                             ) TIME: 8:30 a.m.
14                                           ) JUDGE: Honorable William Schubb
     ARICELA VILLA,
                                             )
15                                           )
                Defendants.
                                             )
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           It is hereby stipulated and agreed to between the United
18
     States of America through MICHAEL BECKWITH, Assistant U.S.
19
     Attorney, and defendant, Aricela Villa, through her counsel,
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     KRESTA DALY, that the sentencing hearing of August 29, 2011 be
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 1   vacated and that sentencing hearing be set for November 7, 2011
 2   at 8:30 a.m.
 3   DATED:   August 22, 2011         Respectfully submitted,
 4

 5

 6                                      s/Kresta Daly_____________
                                      KRESTA DALY
 7                                    Attorney for Aricela Villa
 8

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10
                                        s/Kresta Daly_____________
11   DATED:   August 22, 2011         Michael Beckwith
                                      Assistant United States Attorney
12

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14
                                   O R D E R
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          IT IS SO ORDERED.
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     DATED:   August 24, 2011
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